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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 WISCONSIN VOTERS ALLIANCE, et al.,

         PLAINTIFFS,

 V.
                                                          CASE NO.: 1:20-CV-03791-JEB
 VICE PRESIDENT MICHAEL R. PENCE,
 et al.,

         DEFENDANTS.




                                  CIVIL NOTICE OF APPEAL

       Pursuant to Rules 3(a) and 4(a)(1)(A) of the Federal Rules of Appellate Procedure, notice

is hereby given this 3rd day of March, 2021, that Non-Party Respondents Erick G. Kaardal, Esq.

and Mohrman, Kaardal & Erickson, P.A. (collectively referred to as “Plaintiffs’ Counsel”) hereby

appeal to the United States Court of Appeals for the District of Columbia Circuit from the Minute

Entry this Court entered on the 19th day of February, 2021, which states in full “ORDER: The

Court ORDERS that Plaintiffs’ counsel shall be referred to the Committee on Grievances. Signed

by Judge James E. Boasberg on 2/19/2021. (lcjeb1) (Entered: 02/19/2021)” as well as the Order,

which is a separate document, at ECF No. 23 which concludes “[t]he Court, accordingly, ORDERS

that Plaintiffs’ counsel shall be referred to the Committee on Grievances. It expresses no opinion

on whether discipline should be imposed or, if so, what form that should take.”

       The United States Court of Appeals for the District of Columbia Circuit has jurisdiction to

hear this appeal because the underlying case has been dismissed and is closed; the District Court

has finally resolved all issues in the case; the February 19, 2021, Order constitutes a final order for



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the case; there are no motions listed in Federal Rule of Appellate Procedure 4(a)(4) or 4(b)(3) that

would make the filing of a notice of appeal ineffective; and this appeal is being filed in good faith

for review of the Minute Entry this Court entered on the 19th day of February, 2021, and the

accompanying separate document which constitutes this Court’s Order.



                                                     Respectfully submitted,

                                                     ECCLESTON & WOLF, P.C.

                                                     /s/ Channing L. Shor
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                                                     Mohrman, Kaardal & Erickson, P.A.




                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 3rd day of March 2021, a copy of the foregoing Civil

Notice of Appeal was served on the District Court’s clerk and electronically filed via the Court’s

CM/ECF system pursuant to Rule 3(a)(1) of the Federal Rules of Appellate Procedure and District

of Columbia Circuit Rule 25(c)(3).



                                                     /s/ Channing L. Shor
                                                     Channing L. Shor (#1024861)



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